






NO. 07-05-0284-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 5, 2006



______________________________


			

JOSHUA STOCKER, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 47TH DISTRICT COURT OF RANDALL COUNTY;



NO. 15,307-A; HONORABLE HAL MINER, JUDGE


_______________________________




Before REAVIS and CAMPBELL and HANCOCK, JJ.

ORDER ON ABATEMENT AND REMAND


	Appellant Joshua Stocker has given notice of appeal from a judgment of conviction
and sentence for the offense of capital murder.  The appellate court clerk received and
filed the trial court clerk's record on September 21, 2005.  The trial court reporter's record
was filed on September 19, 2005. 

	This Court has received and granted four extensions from appellant's counsel to file
the appellant's brief since November 17, 2005.   By letter dated April 17, 2006,  the
appellate clerk reminded counsel for appellant that appellant's brief was due on April 10,
2006, and that neither the brief nor a motion for a further extension of time had been
received.  Counsel for appellant was further advised by such letter that if no response to
the letter was received by April 27, 2006, the appeal would be abated to the trial court for
hearing pursuant to Rule of Appellate Procedure 38.8(b).  Counsel for appellant responded
to that letter by filing a fifth extension of time to file the appellant's brief.    

	Accordingly, this appeal is abated and the cause is remanded to the trial court.  Tex.
R. App. P. 38.8(b)(2).  Upon remand, the judge of the trial court is directed to immediately
cause notice to be given of and to conduct a hearing to determine: 

	(1) 	whether appellant desires to prosecute this appeal; 


  	if appellant desires to prosecute this appeal, then whether appellant
is indigent, and if not indigent, whether counsel for appellant has
abandoned the appeal; 
  	if appellant desires to prosecute this appeal, whether appellant's
present counsel should be replaced; and
  	what orders, if any, should be entered to assure the filing of
appropriate notices and documentation to dismiss appellant's appeal
if appellant does not desire to prosecute this appeal, or, if appellant
desires to prosecute this appeal, to assure that the appeal will be
diligently pursued.



If the trial court determines that the present attorney for appellant should be replaced, the
court should cause the clerk of this court to be furnished the name, address, and State Bar
of Texas identification number of the newly-appointed or newly-retained attorney.  

	In support of its determination, the trial court shall prepare and file written findings
of fact and conclusions of law and cause them to be included in a supplemental clerk's
record.  The hearing proceedings shall be transcribed and included in a supplemental
reporter's record.  Those supplemental records shall be submitted to the clerk of this court
no later than June 5, 2006.


							Per Curiam





Do not publish.  


